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Form CLOSBK (10/09)
                                                   United States Bankruptcy Court
                                                    Western District of Michigan
                                                        One Division Ave., N.
                                                              Room 200
                                                       Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                                         Case Number 14−04375−jtg
           Andrea J. Averill
           13396 Lime Lake Dr.                                                           Chapter 13
           Sparta, MI 49345−0186
           SSN: xxx−xx−4738                                                              Honorable John T. Gregg
                                                                  Debtor



                                                             FINAL DECREE



The estate of the above named debtor(s) has been fully administered.

IT IS ORDERED THAT:

Brett N. Rodgers is discharged as trustee of the estate of the above named debtor(s) and the bond is
cancelled.

The chapter 13 case of the above named debtor(s) is closed.




Dated: August 23, 2018

1 Aliases for Debtor Andrea J. Averill : fka Andrea J. Crane, fka Andrea J. Wagenmaker
